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Robin Brian
1705 Dalrymple Road
Anderson, SC 29621


November 9, 2022


Dear Honorable Judge Thomas F. Hogan,


I, Robin Brian, am the mother of George A. Tenney. I am honored to write this letter of
support for him. I have had the privilege of raising him; therefore, I have known him all
of his 36 years. George is a good person with values and is very kind-hearted. He is also
an outstanding father and a loving husband to be. He coaches his son’s baseball team
and has special shopping days with his daughter. He has also recently been blessed with a
newborn son. While taking on more personal responsibility as a small business owner, he
always spends quality time with his family. In writing this, I hope you can see George as
the responsible and caring family man that he is, even though he undoubtedly made a
bad decision on January 6, 2021.


George has always left a good impression with individuals he meets. Throughout his
years, I have received numerous compliments on how remarkable his kind demeanor and
talents are, as well as his willingness to help people around him. Over the years people
have said, “George is good at what he does,” “Couldn’t have done it without him,” “He
manages his team well,” “Show’s great leadership skills.” I’m sure all of that sounds good
if he is applying for a job but the truth of the matter is, that is what made him become
the man he is today: A successful restaurant owner.


We all experience mistakes in life and George has made one that will follow him for the
rest of his life. Please consider that he has no criminal record and has never been in
trouble with the law. Over the past two years my son has expressed his remorse to me as
to what he did and to what happened to all of those people on that day. I can honestly
say that I do not think George would ever participate in anything like that again.


Thank you for taking the time out of your busy schedule to consider my request for a
lenient sentence. I can be reached at 1-864-353-1229


Kind Regards,


Robin J. Brian
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